Case 2:24-cv-00344-RJS-DAO Document 12-7 Filed 06/05/24 PageID.925 Page 1 of 6




                       Exhibit G
Case 2:24-cv-00344-RJS-DAO Document 12-7 Filed 06/05/24 PageID.926 Page 2 of 6
Case 2:24-cv-00344-RJS-DAO Document 12-7 Filed 06/05/24 PageID.927 Page 3 of 6
Case 2:24-cv-00344-RJS-DAO Document 12-7 Filed 06/05/24 PageID.928 Page 4 of 6
Case 2:24-cv-00344-RJS-DAO Document 12-7 Filed 06/05/24 PageID.929 Page 5 of 6
Case 2:24-cv-00344-RJS-DAO Document 12-7 Filed 06/05/24 PageID.930 Page 6 of 6
